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RUTH A. SHAPIRO (9356)
AMANDA B. MENDENHALL (15677)
ERIKA M. LARSEN (16494)
SNOW, CHRISTENSEN & MARTINEAU
10 Exchange Place, 11th Floor
Post Office Box 45000
Salt Lake City, Utah 84145
Telephone: (801) 521-9000
abm@scmlaw.com
eml@scmlaw.com
ras@scmlaw.com
Attorneys for Plaintiff
____________________________________________________________________________

                            IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 KATRINA CLEAVELAND, an individual,                   COMPLAINT AND JURY DEMAND

                  Plaintiff,

          v.                                          Case No.

 WESTMINSTER COLLEGE, a Utah                          Judge:
 Corporation and Institution of Higher Education

                  Defendant.


       Plaintiff Katrina Cleaveland, by and through her counsel of record, hereby complains

against defendant Westminster College (“Westminster”), alleges, and asserts as follows:

                       PARTIES, JURISDICTION, VENUE AND TIER

     1.        Katrina Cleaveland (“Katrina”) is a citizen of the State of Utah, and at all times

relevant resided therein.

     2.        Defendant Westminster College (“Westminster”) is an institution of higher

education located in Salt Lake City, Utah.
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      3.        Upon information and belief, Westminster receives federal funding and financial

assistance within the meaning of 20 USC 1681(a) and is otherwise subject to Title VI, Section 504,

and the Fair Housing Act.

      4.        The Court has subject matter jurisdiction over this matter pursuant to 28 USC §§

1331, 1343, and 1367.

      5.        Venue is proper in this forum pursuant to 28 USC § 1391 as the Defendant is a

citizen of Utah and the events and omissions giving rise to this action occurred within the

jurisdiction of this Court.

                                  GENERAL ALLEGATIONS

      6.        Katrina was raised in Monroe, Utah and is a graduate of Richfield High School in

Sevier County, Utah.

      7.        Katrina is a first-generation college student as neither of her parents nor any of her

grandparents attained higher education.

      8.        As discussed below, Katrina suffers from several disabilities, so she understood the

importance of selecting a college that was sensitive to her disabilities and offered the right

environment for her success. Attending, participating, and succeeding in college are top priorities

for Katrina.

      9.        After looking at several institutions of higher education, Katrina chose to attend

Westminster because she was led to believe it would provide the environment necessary for her to

attend college and succeed, including a Legacy Program designed with students like her in mind.

      10.       To qualify for the Legacy program at Westminster, students must be first generation

college students and identify with a traditionally underrepresented population like a racial




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minority, a person with disabilities, or a person with a marginalized gender identity, expression,

or sexuality.

      11.        Katrina applied for and was accepted to Westminster. Katrina was awarded a

Legacy Scholarship and a placed in the Legacy Program.

      12.        Katrina qualified for this program under a number of categories, including as a

disabled person.

      13.        As part of the Legacy “family,” Katrina spends a lot of time supporting, learning

from, and engaging with people from varying racial, cultural, social, and economic backgrounds.

                                        Katrina’s Disabilities

      14.        Katrina suffers from a degenerative condition that resulted in severe hearing loss

by the time she graduated from high school.

      15.        As a result, Katrina relies on hearing aids to hear, communicate, and function in her

everyday life.

      16.        The use of hearing aids does not completely correct Katrina’s hearing loss, resulting

in a continued need for other accommodations, including the presence of a service animal to alert

Katrina to people approaching or nearby, knocks on her door, emergencies, etc.

      17.        Katrina is also a survivor of sexual abuse.

      18.        As a survivor, Katrina suffers from severe symptoms related to Anxiety,

Depression, and Post Traumatic Stress Disorder (PTSD).

      19.        Katrina additionally suffers from Attention-Deficit/Hyperactivity Disorder

(ADHD).

      20.        As a result of these conditions, Katrina also utilizes her service animal to provide

her with certain necessary services for her well-being and sense of security. These include, but are



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not limited to, notification when persons are present or approaching Katrina’s person or home, the

reassurance of safety and security, and therapy work that includes the compression of certain

pressure points to relieve stress.

      21.       Katrina’s service animal is a 50 lb Australian Cattle Dog named Todd (“Todd”).

                       Katrina’s Initial Housing Issues – Freshman Year

      22.       In order to attend Westminster, Katrina needs to live in student housing because

Katrina’s family and home are hours away in Monroe, Utah.

      23.       Student housing (“Housing”) at Westminster does not allow students to own pets.

However, in compliance with federal law and according to Westminster’s own policies, Housing

permits service animals as a reasonable accommodation for persons with disabilities.

      24.       Katrina is one such person entitled to this reasonable accommodation.

      25.       Katrina applied for and was approved to live in Housing during her 2017 – 2018

year (“Freshman Year”).

      26.       Katrina arrived at Westminster without Todd, but during her Freshman Year,

Katrina sought approval from Westminster’s Disability Services Office for her service animal to

live with her on campus and accompany her to classes and school activities.

      27.       Katrina filled out the appropriate paperwork and was approved to have Todd come

live with her at Westminster in her campus housing.

      28.       Also during her Freshman Year, Katrina became more involved in the Residence

Hall Association (RHA).

      29.       RHA is a leadership group that acts as “the voice for students living on campus,

and is comprised of Westminster students and overseen by a Westminster staff advisor.




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      30.      At the time Katrina started becoming involved with RHA, Sierra Krippner was the

RHA staff advisor.

      31.      Katrina attended weekly RHA meetings, where she brought Todd as her service

animal. During these meetings, Todd behaved appropriately and was not a disturbance.

      32.      As part of RHA, Katrina was offered an opportunity to attend a conference in Idaho.

Katrina understood it was in preparation for her to assume the role of RHA vice president for the

following school year.

      33.      Todd is essential to help Katrina navigate unfamiliar places with her hearing loss,

PTSD, and Anxiety. Therefore, Katrina sought approval for Todd to attend the conference from

Ms. Krippner as the RHA staff advisor.

      34.      Ms. Krippner was reluctant to allow Katrina to bring her service animal to the

conference, citing her belief that the hotel would not allow Todd.

      35.      However, after Katrina continued to express her need to bring Todd, Ms. Krippner

told Katrina she could bring Todd—but only if she received the proper approval from the

conference’s host hotel and the hosting college. Katrina did so, and the hosts granted her request

for accommodation without condition.

      36.      Katrina and Todd were completely welcomed by the conference hosts and other

conference goers who were complimentary of Todd’s good behavior.

      37.      During the conference, Todd excelled at his service responsibilities, and sat quietly

through all meetings and engagements.

      38.      Halfway through the conference, however, RHA’s vice president claimed that Todd

growled at someone. Not only is growling uncharacteristic for Todd, not one other person present

heard it.



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     39.       Nonetheless, Westminster RHA leadership banished Katrina and Todd to the back

of the room during the remainder of the conference where she had difficulty hearing the

presentations and could not actively participate.

     40.       Katrina attempted to talk with Ms. Krippner about this, but Ms. Krippner dismissed

Katrina’s objections. She further told Katrina that she was lucky to even attend the conference

with Todd.

     41.       Because of Ms. Krippner’s distain and refusal to assist Katrina in securing

reasonable accommodation, Katrina felt ostracized and shunned because of her disabilities and

need for accommodation.

     42.       On the way home from the conference, Westminster RHA leadership forced

Katrina and Todd to sit in the very back of the van despite an abundance of empty seats elsewhere.

Katrina alerted Westminster RHA leadership that she gets carsick in the rear passenger seat when

traveling long distances, but they insisted that Katrina and Todd ride in the very back of the van.

     43.       Because of her hearing loss, sitting in the back of the van made it difficult for

Katrina to hear and participate in any of the group’s conversations or discussions. As a result,

Westminster RHA leadership purposefully excluded Katrina from participating with the rest of the

group unlike the other non-disabled students.

     44.       After the conference Katrina attended in preparation to assume her role as vice

president the following year, Katrina met with RHA leadership.

     45.       During this meeting, Westminster RHA leadership told Katrina that she was “not

fit” for the position as vice president and cited her ADHD as one reason for the decision.

     46.       Due to Katrina’s preparation and training, including her attendance at the

conference, Katrina was qualified to take the position of Vice President.



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     47.       However, RHA leadership told Katrina that the other person chosen for the position

was a “better fit,” despite not having attended the conference or being otherwise qualified.

     48.       On information and belief, that person is not disabled and does not require

reasonable accommodations.

     49.       After this meeting, Katrina spoke with Ms. Krippner who confirmed that the reason

Katrina was “fired” from RHA included Katrina’s strategies for managing her ADHD. Ms.

Krippner also expressed annoyance about Todd’s attendance at the conference.

Continued Housing Problems – Freshman Summer/Sophomore Year

     50.       Toward the end of Katrina’s Freshman Year, Karnell Black assumed the role of

Vice President of Student Affairs.

     51.       Around this time (May/June 2018), there was no active Director of Housing at

Westminster, but Katrina discovered that Mr. Black, in coordination with Ms. Krippner, would

give students their housing assignments for the following school year (“Sophomore Year”).

     52.       Katrina and several friends requested an apartment together for their Sophomore

Year. These roommates knew Katrina needed Todd to live in the apartment and agreed to

accommodate it. However, after Mr. Black became involved, Katrina learned that she was assigned

to different housing than her requested roommate group.

     53.       Katrina subsequently alerted Mr. Black, Ms. Krippner, and Housing to the fact that

she needed to live with her service animal on campus, effectively renewing her request for this

reasonable accommodation for her disabilities.

     54.       Mr. Black, Ms. Krippner, and Housing placed Katrina in a housing unit with

roommates who were allergic to dogs, thereby denying her request for reasonable accommodation.




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     55.       Katrina reported her roommates’ allergies to Mr. Black, Ms. Krippner, and

Housing, but instead of moving the non-disabled students to different units, Mr. Black, Ms.

Krippner, and Housing uprooted Katrina and moved her to a different unit off-campus.

     56.       Katrina, her parents, and her academic advisors told Mr. Black, Ms. Krippner, and

Housing that off-campus housing was not a reasonable alternative accommodation in light of

Katrina’s recorded and known disabilities.

     57.       Nonetheless, Mr. Black, Ms. Krippner, and Housing assigned Katrina to a new unit

in Westminster’s off-campus housing called “The Draw.”

     58.       After Katrina had settled in to her new apartment, which Katrina presumed would

be her housing for the entire year, Katrina discovered a new roommate was scheduled to move in

who claimed to be allergic to dogs.

     59.       Katrina again informed Mr. Black of this situation, but instead of assigning that

student to another apartment, Mr. Black told Katrina that she and Todd had to relocate yet again.

Katrina and her family objected to the reassignment over the course of several months.

     60.       Other students offered to move to accommodate Katrina’s need for her service

animal.

     61.       Despite this, and over Katrina’s objections, Housing uprooted Katrina, once again,

and forced her to move to a different unit.

     62.       In July 2018, Westminster hired Jess Sweitzer as Director of Housing, which

Katrina hoped would improve her housing situation and Westminster’s prior reluctance to

accommodate her disabilities.




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     63.       Nonetheless, Katrina’s housing situation became more hostile, and Mr. Black, Ms.

Krippner, and now Ms. Sweitzer continually put Katrina in environments not conducive to her

need for a service animal as an accommodation.

     64.       In fact, during her Freshman Summer (2018) and early in her Sophomore Year, Mr.

Black, Ms. Sweitzer, and Housing continually ignored Katrina’s need for roommates with no dog

allergy. Katrina was forced to move eight times over the course of nine months, and spent many

months held hostage not knowing when she would be forcefully uprooted again.

     65.       Throughout this time, Katrina was frequently uprooted and her living situation

changed at a moment’s notice, simply because of her need for reasonable accommodations for her

known disabilities.

     66.       Because of this, Katrina felt singled out by Mr. Black, Ms. Krippner, and Ms.

Sweitzer with regard to her disability and need for accommodation in housing.

     67.       Not surprisingly, the instability in Katrina’s housing situation was extremely

stressful for Katrina and caused significant flare-ups in her Anxiety, Depression and PTSD.

     68.       Katrina’s mother, Lisa Cleaveland, even attempted to remedy this situation and

secure reasonable accommodation for her daughter by requesting intervention from Westminster’s

Office of the President, but the President’s office simply referred her back to the Dean of Students’

office and, in turn, directly back to Mr. Black, the very same person that was purposefully making

it difficult for Katrina to receive the accommodation she required.

     69.       Mr. Black was then aware of Katrina’s attempts to escalate her concerns over Mr.

Black and report his discrimination to his superiors.




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     70.        Westminster, Mr. Black, and Ms. Sweitzer knew Katrina was disabled and needed

and requested reasonable accommodation, yet her requests were continuously ignored or

discounted.

     71.        Westminster’s, Mr. Black’s, and Ms. Sweitzer’s treatment of Katrina and the

resulting isolation led to significant aggravation of Katrina’s PTSD, Anxiety, and Depression.

     72.        Due to this, Katrina experienced suicidal ideation and she relapsed into practicing

self-harm as a coping mechanism, despite not doing so for over four years.

     73.        These aggravated symptoms and the relapse in her mental illnesses led to a

significant decline in Katrina’s grades, and Westminster placed her on academic probation.

     74.        Prior to this, Katrina had done well in school and had not been put on academic

probation.

                                     The Roommate Change

     75.        At the end of her Sophomore Year, Katrina lived in The Draw with one roommate,

Rhett Kimura.

     76.        Ms. Kimura planned to move out of student housing at the end of Katrina’s

Sophomore Year. Katrina anticipated new roommates for the 2019 – 2020 academic year (“Junior

Year”).

     77.        Katrina intended to return to campus in the fall with her service animal. However,

Katrina learned that she was paired with someone who was allergic to dogs once again, without

any proposal for a reasonable alternative accommodation for Katrina’s disabilities.

     78.        Ms. Kimura moved out of their shared apartment after the May Term, 2019.

     79.        During Ms. Kimura’s move-out process, there were several individuals in and out

of the unit including Ms. Kimura’s and Katrina’s family and friends.



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     80.       Katrina did not move out at this time, and planned to stay in the same unit during

her Junior Year. Katrina left her belongings in the unit and spent much of the summer at home in

Monroe.

     81.       When Katrina returned to campus to begin the 2019 – 2020 academic year, she

discovered that Ms. Kimura left a number of her personal belongings in the unit, including a hand-

drawn picture stuck to the back of their shared front door.

     82.       Ms. Kimura and her friend Mike Vitek created the drawing while hanging out in

Ms. Kimura’s and Katrina’s shared apartment at the end of the prior school year.

     83.       Katrina did not participate in its creation.

     84.       On information and belief, Ms. Kimura and Mr. Vitek hung the drawing on the back

of the front door using stickers found in the living room.

     85.       Ms. Kimura and Mr. Vitek are both significantly taller than Katrina and hung the

drawing at their eye-level, well above Katrina’s normal field of sight. Katrina is 5’2”.

     86.       Although Katrina was generally aware that there was a drawing was hanging on the

back of the door, she never looked at it in any detail. She was therefore not aware of its content.

                                        The Initial Report

     87.       Shortly after arriving back to school, Zoe Kalapos, moved into the unit.

     88.       Ms. Kalapos never mentioned the presence or contents of the drawing to Katrina.

     89.       On August 21, 2019, Kate Mackin, moved into the apartment.

     90.       The following day, Ms. Mackin confronted Katrina by asking Katrina if she “hated

Jews.”




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     91.       Katrina was completely befuddled and did not understand what Ms. Mackin could

possibly be talking about. Katrina asked for clarification, but Ms. Mackin just continued to ask

Katrina whether she “hated Jews.”

     92.       Finally, Ms. Mackin referenced the drawing on the back of the front door, but

Katrina remained confused because she had never noticed the detailed contents of the drawing.

     93.       Katrina physically went to the door and removed the illustration in order to see the

details. This was the first time Katrina noticed the drawing contained anti-Semitic language and

hateful images.

     94.       Katrina was, understandably, horrified to find this in her home.

     95.       Katrina has dedicated much of her adolescent and adult life helping and defending

minority and disadvantaged groups. In fact, Katrina works at an after-school program that

primarily services underprivileged children of minorities. Additionally, Katrina’s participation in

the Legacy “family” results in significant work with a number of minority groups.

     96.       Katrina apologized to Ms. Mackin profusely and explained she did not create the

drawing and had no idea what was in it.

     97.       After this confrontation, Katrina retreated to her room until there was a knock at

the apartment door. Westminster Campus Patrol and Ms. Sweitzer were there because of a report

that an offensive picture was in the apartment.

     98.       Katrina retrieved the drawing from the trashcan in her room and gave it to Campus

Patrol and Ms. Sweitzer. Katrina told them that she had not drawn it or posted it in the apartment,

and had not realized what it depicted.




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     99.       Ms. Sweitzer was aware of and personally involved with housings ongoing

discrimination and forced removal of Katrina by continually uprooting her and forcing her to move

in response to requests for reasonable accommodation.

     100.      Nevertheless, in response to this event, Ms. Sweitzer told Katrina she had to move

to Apartment 207 in Stock Hall.

     101.      Moving Katrina in such a situation is contrary to Westminster’s Housing policy,

which states that the remedy for such cases is that “[s]tudents will be asked to remove material

from public view if it is considered offensive, obscene, or a continual disruption to the college.”

     102.      Because of Katrina’s Anxiety and PTSD disorder, and in light of the previous

months of continued discriminatory and retaliatory actions from Housing, Katrina experienced a

significant panic attack. She texted her mother that she thought she had to withdraw from school

and move home because of this incident.

     103.      Her mother immediately called, but Katrina hung up after a little over a minute

because she was overwhelmed by the entire situation. Katrina became so distraught with the

presence of Campus Patrol and Ms. Sweitzer’s insistence that she had to move, yet again, she cried

so hard her nose bled.

     104.      Ms. Sweitzer and Campus Patrol made Katrina go to Westminster’s counseling

center because she was so visibly distraught and inconsolable. Ms. Sweitzer further instructed

Katrina not to speak with her mother until after she had been to counseling.

     105.      Campus Patrol transported Katrina directly to the counseling center.

     106.      There, Katrina met with Molly Butterworth in confidence regarding the incident,

her reaction, and her overall anxiety related to the incident. During this meeting, Katrina was still




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in crisis and experiencing significant anxiety and panic symptoms. Eventually, Katrina was

released from the counseling center, and she returned to her apartment.

                                   Mr. Black’s Confrontation

     107.      Katrina subsequently called Campus Patrol to determine how to get the keys to the

new apartment previously mentioned by Ms. Sweitzer.

     108.      Campus Patrol referred the question to Mr. Black as Dean of Students. Mr. Black

called Katrina that same night to discuss her new housing assignment. Mr. Black made no

comment or reference to suspension or any other disciplinary action.

     109.      Mr. Black followed-up with Katrina later that evening with an e-mail that asked her

to “meet at 9:45 am [the next day] to get keys to your new space[.]”

     110.      Katrina responded to Mr. Black’s e-mail the next morning at approximately 9:30

a.m. and told Mr. Black she was headed over to his office to get the keys.

     111.      Katrina grabbed her ID card and headphones and walked to Mr. Black’s office.

Katrina did not bring her hearing aids because she cannot use both her headphones and her hearing

aids at the same time. Katrina did not think she needed them because Mr. Black led her to believe

that she was simply picking up the keys to her new unit.

     112.      Once at Mr. Black’s office, however, Mr. Black closed the door, effectively

cornering Katrina, and began to interrogate her about the drawing.

     113.      Because Katrina felt cornered, she asked to call her mom. Mr. Black said no.

Katrina asked for a lawyer. Mr. Black told her no.

     114.      Katrina tried to tell Mr. Black that she did not have her hearing aids. Mr. Black

knows Katrina has significant hearing loss, but he repeatedly cut her off.




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     115.         For the first time, Mr. Black suggested that Katrina may be suspended and/or

expelled.

     116.         Mr. Black also pressured Katrina to provide the names of the individuals involved

in the drawing.

     117.         Finally, Mr. Black let Katrina call her mother. Katrina told her she was meeting

with Mr. Black and that the situation they thought had been resolved was significantly graver than

Katrina was previously told.

     118.         Katrina’s mother, Lisa Cleaveland, informed both Katrina and Mr. Black that she

would immediately drive up to Salt Lake City and to expect her in two hours. Mr. Black finally

allowed Katrina to leave his office until her mother arrived.

Katrina’s Initial Suspension

     119.         Without Katrina’s knowledge, Mr. Black subsequently convened a Threat

Assessment and Behavior Intervention Committee (TABIC) meeting wherein Julie Freestone,

(HR) Arikka Von (Marketing and Communications), Tony Russel (Campus Security), Corey

Shipp and Molly Butterworth (Crisis Counselors), and Katherine Holmes (General Counsel) were

present.

     120.         Molly Butterworth was the same counselor Katrina was forced to meet with the

prior evening at Ms. Sweitzer’s insistence.

     121.         TABIC’s purpose is to “to formalize the college’s processes of addressing behavior

that may be threatening, disruptive, or harmful.”

     122.         Mr. Black serves as chairman of this Committee and was present and participated

in the meeting.

     123.         No meeting minutes or notes were taken, and no recording or transcript was made.



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      124.      On information and belief, TABIC considered “evidence” from the Campus Patrol

report, as well as Mr. Black’s own follow-up investigation and personal discussions with Ms.

Sweitzer. Ms. Sweitzer purportedly told Mr. Black that she personally heard Katrina admit to her

mother that Katrina created the drawing herself.1

      125.     Katrina never admitted to her mother that she created the drawing. In fact, Katrina

expressly told her mother she had nothing to do with the drawing and did not even know its

contents.

      126.     That afternoon Katrina and Ms. Cleaveland returned to Mr. Black’s office.

      127.     Mr. Black threatened expulsion for the presence of the drawing in Katrina’s room,

but told Katrina she would not be disciplined if she simply gave him the names of the two

individuals involved in the creation of the drawing.

      128.     Despite not wanting to “tattle-tell,” but because Mr. Black was threatening

expulsion, Katrina cooperated and told Mr. Black that Ms. Kimura and Mr. Vitek drew and hung

the picture in the apartment.

      129.     Mr. Black suspended Katrina from campus. Mr. Black indicated the suspension was

for her own safety, but assured her that Westminster intended to investigate the incident further.

      130.     Ms. Cleaveland and Katrina were both under the impression that it was a short

suspension only for the weekend. Both Ms. Cleaveland and Katrina believed that Katrina could

return to campus the following week for class and work.




1
 This false statement was later exposed during the independent investigation discussed
below.

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     131.      Instead, the following day (a Saturday), Mr. Black issued a formal suspension letter

to Katrina that informed her that he was “imposing on [her] this interim suspension from the

college, which includes denial of access to campus property, all classes and activities.”

     132.      The suspension was for an undetermined length of time “pending the outcome of

the college’s internal investigation and disciplinary procedures.”

     133.      Katrina was therefore explicitly barred from returning to campus for any reason at

least until she met with Mr. Black on Wednesday, August 28, 2019 at 3:00 p.m.

     134.      Katrina was also suspended from housing and not allowed back to her apartment.

     135.      Katrina’s family lives three hours away in Monroe, Utah, and Katrina does not have

any family in Salt Lake County with whom she can stay.

     136.      Mr. Black was aware of Katrina’s housing situation and her need for access to

student housing.

     137.      The suspension letter threatened to have Katrina arrested for trespass if she returned

to campus prior to their meeting.

     138.      This suspension effectively rendered Katrina homeless.

     139.      Mr. Black explained the reason behind this complete suspension was to “take

appropriate steps to protect all of its students and property” due to the “level a (sic) detail and

threat in [the] drawing[.]”

     140.      TABIC’s decision to suspend Katrina was purportedly because it had determined

that Katrina posed a threat, but to whom and for what remains unclear.

                    Total Suspension Lifted; Housing Suspension Enforced




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     141.        On August 27, 2019, before the scheduled meeting with Katrina, Mr. Black sent

Katrina an e-mail that informed her that he was “amend[ing] the restriction of the interim

suspension” pending the outcome of an independent investigation.

     142.        Apparently, Westminster and Mr. Black eventually concluded Katrina was not an

actual threat to the campus community.

     143.        As a result, Katrina was now allowed “to be on campus to attend meetings in

response to this matter, attend class, and utilize academic and wellness support resources (ex.

writing center, tutoring services, counseling services, and student health services).”

     144.        However, Katrina was still banned from housing for the entirety of the independent

investigation.

     145.        Mr. Black knew that, based upon Katrina’s situation, removing her from housing

would significantly hinder her access to campus, including her classes and work.

     146.        Mr. Black knew that unstable housing was unhealthy for Katrina’s documented

mental illnesses.

     147.        For the entirety of the investigation, Katrina was homeless. Nevertheless, she did

her best to attend her classes and keep up on her obligations, believing the investigation would

prove she was not responsible for the drawing and Westminster would therefore lift the suspension.

     148.        As will be discussed more fully below, on information and belief, the investigation

was simply a pretext to effectively remove Katrina from Housing altogether.

                     Independent Investigation and Notice of Determination

     149.        In the August 27, 2019 email, Mr. Black also stated that he had removed himself

from the investigation, and turned it over to Kat Thomas at the Equal Opportunity Office (EOO)

instead.



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     150.      Ms. Thomas sent a separate letter that stated the EOO retained independent outside

counsel, Tyler Dever of the law firm Richards Brandt Miller & Nelson, to conduct an investigation

of the incident that involved the drawing.

     151.      Specifically, Katrina was under investigation to determine whether she was guilty

of Complicity (“any act taken with the purpose of aiding, facilitating, promoting or encouraging

the commission of an act of prohibited conduct by another person.”); and/or Harassment, defined

as “[u]nwelcome conduct directed against another person that is based on one or more of that

person’s protected characteristics or statuses, and that has the purpose of unreasonably interfering

with the person’s employment, academic performance, or participation in College programs or

activities; or creating a working, learning, program or activity environment that a reasonable

person would find intimidating, hostile or offensive.”

     152.      Ms. Thomas said that at the conclusion of her investigation Ms. Dever would report

her findings to the EOO.

     153.      Ms. Dever subsequently conducted a series of interviews related to the incident.

     154.      On information and belief, Ms. Dever interviewed Ms. Sweitzer, Ms. Kimura, Mr.

Vitek, Ms. Mackin, and Katrina. During those interviews, it appears Ms. Dever obtained the

following information:

            a. Ms. Sweitzer falsely reported that she heard Katrina admit to her mother that she

               had drawn the picture;

            b. Katrina denied telling her mother that she had drawn the picture;

            c. Katrina denied knowing about the contents of the picture;

            d. Ms. Cleaveland denied that Katrina told her she had drawn the picture, and

               presented evidence of text messages between she and her daughter that occurred



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                during the incident (when Ms. Sweitzer claimed she heard Katrina’s confession)

                that directly and conclusively confirmed that Katrina never told her mother she was

                involved in the drawing;

             e. Ms. Cleavelend stated that she too had been in and out of the apartment many times

                and never noticed the content of the picture;

             f. Ms. Kimura and Mr. Vitek admitted they drew the illustration and hung it in the

                apartment; and

             g. Mr. Vitek did not believe that Katrina participated in drawing the picture.

     155.       On information and belief, Ms. Dever also reviewed and considered several

documents, including a campus police report and documentation related to the “follow-up”

investigation personally performed by Mr. Black.

     156.       At the close of Ms. Dever’s investigation, she submitted an investigation report (the

“Report”).

     157.       Ms. Dever notified Katrina (and counsel) that she had concluded her investigation

and submitted the Report to Westminster on September 13, 2019.

     158.       Katrina requested a copy of the Report from Ms. Dever, but Ms. Dever told Katrina

she could not give her a copy because it belonged to Ms. Dever’s client, Westminster. Ms. Dever

told Katrina to ask the Westminster for it.

     159.       On September 13, 2019, Katrina reached out to Ms. Thomas at the EEO regarding

Ms. Dever’s findings and, again, to request a copy of the Report.

     160.       Ms. Thomas confirmed that Westminster had the Report, but said she was no longer

involved in the investigation or determination process, but that Julie Freestone and Mr. Black, both

originally involved in the TABIC meetings and original suspension, were now back in charge.



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     161.      Ms. Thomas refused to provide a copy of Ms. Dever’s report to Katrina.

     162.      Katrina subsequently reached out to Julie Freestone on Monday, September 16,

2019 to request a copy of the Report and inquire about the status of the investigation.

     163.      Ms. Freestone refused to provide Katrina a copy of Ms. Dever’s report, but stated

she intended to meet with Mr. Black and Katrina on Wednesday, September 18, 2019 at 4:00 p.m.

to present Westminster’s notice of determination (“Notice”).

     164.      Ms. Freestone also refused to provide a copy of the Notice in advance of the

meeting.

     165.      Ms. Freestone and Mr. Black met with Katrina to deliver the Notice to Katrina. A

copy of the Notice is attached hereto as Exhibit A.

     166.      Ms. Freestone and Mr. Black refused to give Katrina a copy of Ms. Dever’s report.

The Notice did, however, include some of Ms. Dever’s factual findings.

     167.      According to the Notice, Ms. Dever concluded that although Katrina was aware of

the drawing hanging in the apartment, she found “no evidence to support the claim that [Katrina]

was specifically aware of the anti-Semitic imagery.”

     168.      Ms. Dever further concluded that she found “no evidence to support that [Katrina]

contributed to the drawing . . . [or] the specific anti-Semitic symbols or contents of the drawing.”

     169.      In her report, Ms. Dever stated she that confirmed with one of the two individuals

who actually drew the picture, Mr. Vitek, that Katrina did not participate in the drawing.

     170.      Mr. Vitek admitted that he drew the picture with Ms. Kimura.

     171.      Despite Ms. Dever’s factual findings, Ms. Freestone concluded that Katrina

violated Westminster’s Equal Opportunity Policy and found her guilty of “Complicity” or guilty




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of an “act taken with the purpose of aiding, facilitating, promoting, or encouraging the commission

of an act of prohibited conduct [i.e. harassment] by another person.”

     172.      Ms. Freestone’s conclusion was based solely on the length of time the picture hung,

unnoticed, in Katrina’s apartment, an apartment shared with Ms. Kimura, one of the two artists

who actually created the anti-Semitic drawing.

     173.      In consultation with one another, Ms. Freestone and Mr. Black imposed a sanction

for this policy violation and “placed [a] residence hall suspension and deferred suspension” that

concludes Katrina is not “allowed to live on campus for one year from [September 17, 2019].”

     174.      The Notice further states that if Katrina violates or breaks any other college policy

prior to graduation, she will be immediately expelled. Effectively giving Westminster the right to

kick Katrina out at almost any moment with very little cause.

     175.      Mr. Black explained that he personally thought Katrina needed time to “think about

what she had done” and “learn” from this experience.

     176.      It is unclear exactly what Katrina “had done” that required her to “learn” from the

experience, with the exception of her failure to independently discover the discriminatory content

of the drawing and remove the picture.

     177.      In fact, several Westminster employees and/or contractors also did not discover the

discriminatory content of the drawing during the months it was displayed in the apartment.

Including, but not limited to: (1) campus patrol who were previously called to the unit; (2) RAs

who performed a “health and safety check” of the entire apartment just prior to fall semester; (3)

a paint crew tasked to examine every wall and door in the unit to identify, paint, and repair them;

and (4) Westminster cleaning personnel.

     178.      Mr. Black’s laser focus was only on Katrina.



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     179.      In fact, on information and belief, Mr. Black did not convene TABIC to determine

whether Mr. Vitek or Ms. Kimura were threats to themselves or others, including Katrina, despite

drawing a picture that depicted beheaded humans with swastikas on their foreheads, ‘a dead man

hanging from a noose in a tree that bears the inscription “God Wills It”’, and a group of cloaked

individuals beneath the tree wherein the leader has a quote bubble with the words “We must purge

the land of the Jewish disease.”

     180.      On information and belief, Westminster did not initiate any investigatory or

disciplinary proceedings or issue any sanctions against Mr. Vitek or Ms. Kimura.

     181.      On information and belief, Mr. Black was not concerned about Mr. Vitek and Ms.

Kimura’s anti-Semitic threats and hate.

     182.      On information and belief, Mr. Vitek and Ms. Kimura are not disabled, have not

requested reasonable accommodation from Westminster, and have not reported prior instances of

discrimination by Housing and specifically, Mr. Black.

     183.      Mr. Black’s and Westminster’s excuses for Katrina’s suspensions include

protecting the student body from harassment, yet Mr. Black and Westminster failed, and continues

to fail, to protect Katrina from the same harassment. Despite conclusive knowledge that Katrina

did not participate in the drawing nor know its contents, Westminster and Mr. Black continued to

target Katrina instead of protect her.

                                          The Appeal

     184.      On September 25, 2019, Katrina submitted a formal appeal of the determination

because, among other reasons, Mr. Black and Ms. Freestone were clearly biased. They both

participated in TABIC, heard confidential information Katrina told Ms. Butterfield when Ms.

Sweitzer and Campus Patrol forced her to go to counseling, Mr. Black conducted his own



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independent investigation, and Mr. Black and Ms. Freestone then completely disregarded the

independent findings to make their own decisions about Katrina’s alleged complicity and

subsequent punishment.

     185.      Katrina’s appeal also cited procedural error because the findings of fact concluded

that Katrina had no knowledge of the content and anti-Semitic messaging of the picture, making it

impossible for her to be guilty of complicity because it requires an element of purposeful

knowledge. Ms. Freestone and Mr. Black disregarded the findings to find Katrina guilty of

complicity without any basis in fact.

     186.      Because Westminster’s policies require the appeal to be submitted to Ms.

Freestone, the same person already involved in every step of the process, Katrina requested that

Westminster recuse Ms. Freestone and Mr. Black from the appeal.

     187.      On September 30, 2019, Katrina learned that Debbie Tahmassebi was appointed as

the hearing officer for her appeal.

     188.      Ms. Tahmassebi told Katrina that, pursuant to Westminster’s appeal procedure,

“[w]ithin ten school days of their appointment, the appeal panel will meet at a mutually agreeable

time to consider the information provided to them and to determine whether the determination

should be upheld.”

     189.      On October 4, 2019, Ms. Tahmassebi confirmed that an appeal committee had been

appointed and “[t]he group will be meeting next Wednesday, October 9.”

     190.      On October 14, 2019, Katrina requested an update regarding her appeal, and Ms.

Tahmassebi reported that “the appeal committee had the first meeting” the prior week, and “[t]here

is no other update beyond that at this point.”




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      191.       Ten school days from the appointment of Katrina’s appeal panel passed on October

18, 2019.

      192.       From October 14, 2019 to December 4, 2019, Katrina received no further update

regarding the status of her appeal.

      193.       On December 4, 2019, Katrina received a one-page letter from Debbie Tahmassebi

regarding the outcome of her appeal. See “Letter”, attached hereto as Exhibit B.

      194.       The Letter states that the appeal panel “determine[d] that there were two instances

of substantial procedural error.” However, the Letter fails to give any specific information

regarding that finding.

      195.       Nonetheless, “[a]fter reviewing their [the panel’s] concerns, and requesting

additional information from the investigator,” Ms. Tahmassebi completely disregarded the appeal

panel’s findings and conclusions. She instead summarily concluded “there is no basis for the

determination of procedural error.” But, yet again, provided no other specific information in

support of her deviation from the appeal panel’s findings.

      196.       In violation of its own policies, Westminster made Katrina wait 61 days from the

time the appeal panel was appointed for its decision.

      197.       At the time of the filing of this complaint, Katrina has been without a permanent

residence for 109 days.

                                             COUNT I
                       Violation of Section 504 – Discrimination/Harassment

      198.       Plaintiff realleges and incorporates by reference the preceding paragraphs.

      199.       Katrina is a person with documented severe hearing loss, severe Anxiety,

Depression, PTSD, and ADHD that substantially limits her ability to function in one or more of

her life activities.

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      200.     Katrina is therefore disabled as defined in Section 504 of the Rehabilitation Act of

1973 (“Section 504”).

      201.     Despite her disabilities, Katrina is qualified to attend and was admitted by

Westminster to complete her post-high school education. Katrina was also qualified to reside in

Westminster student housing and participate in RHA.

      202.     On information and belief, at all relevant times herein, Westminster received and

still receives federal funding as defined in Section 504.

      203.     Katrina requested reasonable accommodation for her disabilities.

      204.     Defendants intentionally discriminated against Katrina when they exhibited

indifference and annoyance to Katrina’s reasonable requests for accommodation that ultimately

denied her the benefits of services, educational opportunities, and activities, including fair housing,

because she is deaf and suffers from Anxiety, Depression, PTSD and ADHD.

      205.     Defendants intentionally discriminated against Katrina by denying her reasonable

and effective communication through the use of appropriate auxiliary aids and services, including

but not limited to, access to her hearing aids during disciplinary meetings with the Dean of

Students.

      206.     Defendants intentionally discriminated against Katrina when they exhibited

deliberate indifference to Katrina’s request that Housing screen potential roommates for dog

allergies and repeatedly forced her to relocate.

      207.     The Office of the President intentionally discriminated against Katrina when it

failed to follow Westminster policies to engage EOO after receiving a report of discrimination

against a student. Instead, the Office of the President referred Katrina and her mother back to the

very same department that was discriminating against Katrina in the first place, informing that



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office of Katrina’s complaints. As a result, Katrina endured increased discrimination and

retaliation.

      208.         Defendants knew, or had reason to know, that interference with Katrina’s use and

access to stable housing would aggravate her Anxiety, Depression and PTSD.

      209.         Defendants knew, or had reason to know, that Katrina’s academic success, ability

to function, and equal access to Westminster’s programs were substantially affected by

Defendants’ apathetic attitudes to Katrina’s requests for reasonable accommodations.

      210.         Defendants knew that Katrina’s ability to continue her education at Westminster

was necessitated by her access to student housing and intentionally targeted this necessary resource

in an attempt to effectively dismiss her from school.

      211.         Defendants’ discrimination was intentional and/or constituted deliberate

indifference.

      212.         Westminster has not educated their agents and/or employees regarding Section 504,

nor has it corrected discriminatory policies and practices in order to comply with Section 504 and

its regulations.

      213.         As a direct result of Defendant’s actions, Katrina suffered, and continues to suffer,

both physical and emotional harm.

      214.         Katrina has been, and continues to be, monetarily damaged in an amount to be

determined at trial.




                                               COUNT II
                                 Violation of Section 504 – Retaliation

      215.         Plaintiff realleges and incorporates by reference the preceding paragraphs.

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     216.      Katrina is a disabled individual and therefore entitled to reasonable

accommodations under Section 504.

     217.      Katrina requested reasonable accommodation when she (1) sought to be paired with

roommates that were not allergic to dogs; and (2) asked not to be continually uprooted from her

home during the academic semester.

     218.      When Mr. Black, Ms. Sweitzer, and Westminster’s Housing Department refused to

accommodate Katrina’s reasonable request for accommodation that gave her equal access to

educational and housing opportunities, Katrina’s mother reported to the Office of the President

that her daughter was the victim of discrimination by Mr. Black and Housing personnel.

     219.      The Office of the President thereafter informed Mr. Black of this complaint and

effectively referred Katrina back to him, deferring to his judgment and authority instead of

listening to and investigating Katrina’s complaints of discrimination.

     220.      Katrina and/or her representative was engaged in a protected activity when she (1)

requested reasonable accommodation for her known disabilities; and (2) reported the

discrimination and disparate treatment to the Office of the President.

     221.      In retaliation for inconveniencing housing with her requests for accommodation,

and subsequently reporting the discrimination to the Office of the President, Defendants retaliated

by (1) excluding Katrina from equal participation in the RHA program, forcing her to sit in the

back of the van, and denying her the position of Vice President because of known disabilities; (2)

denying Katrina access to fair housing by continually pairing her with allergic roommates; (3)

forcing Katrina to move eight times in nine months to deliberately inconvenience her and cause

her harm; (4) using the actions of other individuals (Ms. Kimura and Mr. Vitek) to punish Katrina

and suspend her from housing, despite findings that Katrina had no knowledge or involvement of



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the hateful conduct; and (5) threatening immediate suspension and/or expulsion with no reasonable

grounds to do so.

      222.         Defendant’s excuses for these adverse actions against Katrina are merely a pretext

for its disapproval of and annoyance by Katrina’s disabilities, requests for reasonable

accommodations, and report of discrimination to the Office of the President.

      223.         Other non-disabled students at Westminster have been treated differently. In fact,

neither Ms. Kimura nor Mr. Vitek were investigated or disciplined for the offensive content

contained in the illustration.

      224.         As a result, Katrina has suffered and continues to suffer both physical and

emotional harm.

      225.         Katrina has been, and continues to be monetarily damaged in an amount to be

proven at trial.

                                        COUNT III
        Violation of the Fair Housing Act – Discrimination / Failure to Accommodate

      226.         Plaintiff realleges and incorporates by reference the preceding paragraphs.

      227.         Katrina is a person with documented severe hearing loss, Anxiety, Depression,

PTSD, and ADHD that substantially limits one or more of her life activities.

      228.         Katrina is therefore disabled, and a member of a protected class under the Fair

Housing Act (FHA), 42 USC § 3601, et seq.

      229.         Katrina was qualified to rent student housing at Westminster’s housing complexes.

      230.         Katrina requested reasonable accommodation from Westminster Housing for her

disabilities, and Defendant knew of Katrina’s need for reasonable accommodation.




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     231.      Specifically, Katrina requested reasonable accommodation when she (1) sought to

be paired with roommates that were not allergic to dogs; and (2) asked not to be continually

uprooted from her home during the academic semester.

     232.      Defendant intentionally discriminated against Katrina when it exhibited

indifference to Katrina’s reasonable requests for accommodation that ultimately denied her the

benefits of services, educational opportunities, and activities, including fair housing, because she

is deaf and suffers from Anxiety, Depression, PTSD and ADHD.

     233.      Defendant intentionally discriminated against Katrina when it exhibited deliberate

indifference to Katrina’s request that housing screen potential roommates for dog allergies and

repeatedly forced her to relocate.

     234.      Defendant intentionally discriminated against Katrina when it continually removed

and uprooted Katrina from her housing instead of other non-disabled students, which constituted

disparate treatment and effectively denied her fair and stable housing under FHA.

     235.      The Office of the President intentionally discriminated against Katrina when it

failed to follow Westminster policies to engage EOO after receiving a report of housing

discrimination against a student. Instead, the Office of the President referred Katrina and her

mother back to the very same department that was discriminating against Katrina in the first place,

informing Mr. Black and Housing of the discrimination complaint and, thereby, initiating the

retaliation described herein.

     236.      Defendant knew, or had reason to know, that interference with Katrina’s use and

access to stable housing would aggravate her Anxiety, Depression and PTSD.




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       237.        Defendant knew, or had reason to know, that Katrina’s academic success, ability to

function, and equal access to Westminster’s programs were substantially affected by Defendants’

apathetic attitudes to Katrina’s requests for reasonable accommodations under the FHA.

       238.        Defendant knew that access to student housing is necessary to Katrina’s ability to

continue her education at Westminster, and Defendant intentionally targeted this fundamental

resource in order to try to effectively dismiss her from school.

       239.        Defendants’ discrimination was intentional and/or constituted deliberate

indifference.

       240.        Westminster has not educated their agents and/or employees regarding the FHA,

nor has it corrected discriminatory policies and practices in order to comply with the FHA and its

regulations.

       241.        As a direct result, Katrina has suffered, and continues to suffer, both physical and

emotional harm.

       242.        Katrina has also been, and continues to be, monetarily damaged in an amount to be

proven at trial.

                                             COUNT IV
                           Violation of the Fair Housing Act – Retaliation

        243.       Plaintiff realleges and incorporates by reference the preceding paragraphs.

        244.       Katrina is a disabled individual entitled to reasonable accommodation under the

FHA.

        245.       As such, Katrina requested reasonable accommodation when she (1) sought to be

paired with roommates that were not allergic to dogs; and (2) asked not to be continually uprooted

from her home during the academic semester.




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        246.    When Mr. Black, Ms. Sweitzer, and Housing refused to accommodate Katrina’s

reasonable request for accommodation that gave her equal access to educational and housing

opportunities, Katrina’s mother reported to the Office of the President that her daughter was the

victim of discrimination by Mr. Black and Housing personnel.

        247.    Katrina and/or her representative was engaged in a protected activity when she (1)

requested reasonable accommodation for her known disabilities; and (2) reported the

discrimination and disparate treatment to the Office of the President.

      248.      In retaliation for inconveniencing housing with her requests for accommodation,

and subsequently reporting the discrimination to the Office of the President, Defendant retaliated

by (1) denying Katrina access to fair housing by continually pairing her with allergic roommates;

(2) forcing Katrina to move eight times within nine months to deliberately inconvenience her and

cause her harm; and (3) using the actions of other individuals (Ms. Kimura and Mr. Vitek) to

punish Katrina and suspend her from housing, despite findings that Katrina had no knowledge or

involvement of their hateful conduct; and (4) threatening immediate suspension and/or expulsion

with no reasonable grounds to do so.

        249.    Defendant’s excuses for these adverse actions against Katrina were merely a pretext

for their disapproval and annoyance of Katrina’s disabilities, requests for reasonable

accommodations, and her mother’s report of discrimination to the Office of the President.

        250.    Other non-disabled students at Westminster were treated differently. In fact, neither

Ms. Kimura nor Mr. Vitek were investigated or disciplined for the offensive content contained in

the illustration.

        251.    As a result of this targeted retaliation, Katrina has suffered, and continues to suffer,

both physical and emotional harm.



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        252.       Katrina has also been, and continues to be, monetarily damaged in an amount to be

proven at trial.

                                                  COUNT V
                                 Intentional Infliction of Emotional Distress

        253.       Plaintiff realleges and incorporates by reference the preceding paragraphs.

        254.       Defendant engaged in outrageous and intolerable conduct, thereby offending

generally accepted standards of decency and morality, when, among other things, it (1) denied

Katrina access to fair housing by continually pairing her with allergic roommates; (2) forced

Katrina to move eight times within nine months to deliberately inconvenience her and cause her

harm; (3) cornered Katrina alone in an office and denied her access to representation, her parents,

and her auxiliary hearing devices despite knowledge of her disabilities and her history of abuse;

(4) threatened expulsion to leverage information regarding her peers; (5) initiated unsubstantiated

investigative and disciplinary proceedings against Katrina as a pretext for discrimination; and (6)

disregarded the findings of both an independent investigator and the appeal panel in an attempt to

maintain its pretext for continued discrimination and retaliation.

        255.       As discussed previously, Defendants intentionally engaged in this behavior and

either knew or should have known that such emotional distress would result because Defendant

was aware of Katrina’s existing physical and emotional disabilities, her need for reasonable

accommodation for those disabilities, and the reality that Katrina’s educational success at

Westminster was directly tied to her access to student housing.

        256.       As a result of Defendants’ outrageous conduct, Katrina experienced severe

emotional distress, including, but not limited to, (1) severe increase in physical and emotional

symptoms related to PTSD, Anxiety and Depression; (2) relapse of self-harm; (3) suicidal ideation;

(3) nose bleeds; (4) inability to sleep; and (5) stomachaches.

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        257.       As a result of this targeted retaliation, Katrina has suffered, and continues to suffer,

both physical and emotional harm.

        258.       Katrina has also been, and continues to be, monetarily damaged in an amount to be

proven at trial.

                                                  COUNT VI
                                   Negligent Infliction of Emotional Distress

        259.       Plaintiff realleges and incorporates by reference the preceding paragraphs.

        260.       Defendant engaged in conduct that it should have realized involved an unreasonable

risk of causing emotional distress to Katrina when, among other things, it (1) denied Katrina access

to fair housing by continually pairing her with allergic roommates; (2) forced Katrina to move

eight times within nine months to deliberately inconvenience her and cause her harm; (3) cornered

Katrina alone in an office and denied her access to representation, her parents, and her auxiliary

hearing devices despite knowledge of her disabilities and history of abuse; (4) threatened expulsion

to leverage information regarding her peers; (5) initiated unsubstantiated investigative and

disciplinary proceedings against Katrina as a pretext for discrimination; and (6) disregarded the

findings of an independent investigator and the appeal panel in an attempt to maintain its pretext

for continued discrimination and retaliation.

        261.       Defendant should have realized that this conduct could cause emotional distress

resulting in illness or bodily harm because Defendant was acutely aware of Katrina’s existing

physical and emotional disabilities, her need for reasonable accommodation for those disabilities,

Katrina’s history as an abuse survivor, and the reality that Katrina’s educational success at

Westminster was directly tied to her access to student housing.

        262.       As a result of Defendants’ conduct, Katrina experienced severe emotional distress,

including, but not limited to, (1) severe increase in physical and emotional symptoms related to

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PTSD, Anxiety and Depression; (2) relapse of self-harm; (3) suicidal ideation; (3) nose bleeds; (4)

inability to sleep; and (5) stomach aches.

        263.       As a result of this targeted retaliation, Katrina has suffered, and continues to suffer,

both physical and emotional harm.

        264.       Katrina has also been, and continues to be, monetarily damaged in an amount to be

proven at trial.

                                                  COUNT VII
                                                Declaratory Relief

        265.       Plaintiff realleges and incorporates by reference the preceding paragraphs.

        266.       Katrina has a statutorily protectable interest in access to fair housing and a fair and

discrimination-free school and housing environment.

        267.       Because Katrina relies on access to campus housing for her success as a

Westminster student and the intangible importance of a clear educational record for continued

education and future employment, monetary relief is insufficient to avoid irreparable harm.

        268.       Katrina has suffered, and will continue to suffer, irreparable harm due to

Defendant’s discrimination and refusal to reinstate Katrina’s student housing by marring her

permanent educational file with a bogus and discriminatory disciplinary action.

        269.       Katrina is therefore entitled to declaratory relief that:

            a. Finds Katrina not guilty of “Complicity”;

            b. Orders Westminster to remove the fabricated finding from Katrina’s education file;

            c. Orders that Westminster cannot expel Katrina without due process as threatened in

                   the Notice; and

            d. Orders Westminster reinstate Katrina into campus housing with appropriate

                   accommodation for her disabilities.

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                                           COUNT VIII
                                         Injunctive Relief

       270.    Plaintiff realleges and incorporates by reference the preceding paragraphs.

       271.    Katrina has a statutory protectable interest in access to fair housing and a fair and

discrimination-free school and housing environment.

       272.    Because Katrina relies on access to campus housing for her success as a

Westminster student, Katrina has suffered, and will continue to suffer, irreparable harm due to

Defendant’s discrimination and refusal to reinstate Katrina’s student housing for the Spring 2020

semester.

       273.    As a local Utah college, Westminster is subject to the jurisdiction of the Court and

any injunctive relief can be enforced by this Court. Moreover, ongoing review and/or supervision

of such injunctive relief would not be necessary.

       274.    On information and belief, Westminster will not be harmed by the injunctive relief

sought by Katrina. There was never a finding that Katrina posed a danger to other students.

However, as demonstrated, without such injunctive relief, Katrina will suffer irreparable harm.

       275.    Katrina is, therefore, entitled to injunctive relief that reinstates her campus housing

for the Spring 2020 semester.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Katrina Cleaveland prays for and demands judgment and relief as

follows:

       1.      Injunctive relief that orders Defendant to reinstate Katrina’s access to campus

housing for the Spring 2020 semester;

       2.      An order that Westminster find Katrina not guilty of Complicity and remove the

finding from her permanent educational file;

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         3.       An order that Westminster may not expel Katrina without due process;

         4.       For an award of economic, noneconomic, general, special, and punitive damage in

amounts to be proven and supported at trial, including pre- and post-judgment interest;

         5.       For costs of suit incurred in bringing and prosecuting this action, including

attorneys’ fees and costs; and

         6.       For such other and further relief as the Court deems appropriate under the

circumstances.

                                         JURY DEMAND

         Plaintiff Katrina Cleaveland hereby demands a trial by jury on all applicable counts.

         DATED this 11th day of December, 2019.

                                              SNOW, CHRISTENSEN & MARTINEAU


                                              /s/ Amanda B. Mendenhall
                                              Ruth A. Shapiro
                                              Amanda B. Mendenhall
                                              Erika M. Larsen
                                              Attorneys for Plaintiff
4825-2281-4638, v. 1




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